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12                                UNITED STATES DISTRICT COURT
13               NORTHERN DISTRICT OF CALIFORNIA - SAN FRANCISCO DIVISION
14
     PROOFPOINT, INC.; CLOUDMARK                               Case No. 3:19-cv-04238-MMC
15   LLC,
                                                               Date Action Filed: July 23, 2019
16                         Plaintiffs,                         DEFENDANTS’ SUR-REPLY IN
            v.                                                 OPPOSITION TO PLAINTIFFS’
17
                                                               MOTION FOR PRELIMINARY
18   VADE SECURE, INCORPORATED;                                INJUNCTION AND EXPEDITED
     VADE SECURE SASU; OLIVIER                                 DISCOVERY
19   LEMARIÉ,
                                                               JURY TRIAL DEMANDED
20                         Defendants.                         FILED UNDER SEAL
21
                                                               Hearing
22                                                             Date: February 7, 2020
                                                               Time: 9:00 am
23                                                             Courtroom: 7, 19th Floor
                                                               Judge: Maxine M. Chesney
24
                                                               San Francisco Courthouse
25                                                             450 Golden Gate Avenue
                                                               San Francisco, CA 94102
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 1   I.     ARGUMENT AND AUTHORITIES
            A.  Plaintiffs effectively admit that their original Trident theory is unlikely to
 2              succeed on the merits.
 3          Plaintiffs’ Motion for Preliminary Injunction and Expedited Discovery (“PI Motion”) casts a

 4   wide net in attempting to describe their alleged anti-spear phishing trade secrets. For example, in

 5   the PI Motion, Plaintiffs attempted to define their trade secrets as those “described in the Complaint

 6   (Dkt. 1 ¶¶ 55-66).” But the cited paragraphs from the Complaint simply list various techniques and

 7   capabilities, not any alleged “unified architecture.” (Pls.’ Mot. 14, 16, ECF No. 30-4; Compl. ¶¶ 55-

 8   66, ECF No. 1.) And Plaintiffs' alleged mappings in their PI Motion referenced only a subset of

 9   those techniques and capabilities. (Pls.' Mot. 18-19, ECF No. 30-4.) So in response to the PI Motion,

10   Defendants demonstrated that the cited techniques and capabilities were and are publicly available

11   and, thus, could not support a misappropriation claim. (Defs.’ Resp. 2, 11-12, 14-15, ECF No. 71-

12   4; Rankin Decl. ¶ 3, ECF No. 71-8; Karp Decl. ¶¶ 27-29, 42-46, 54-56, ECF No. 71-6.)

13          Plaintiffs do not dispute those facts on reply. Instead, they abandon the misappropriation

14   theory advanced in the PI Motion, and now attempt to define their alleged trade secrets as the

15   combination of those techniques and capabilities in a “unified architecture.” (Pls.’ Reply 3, n.6, ECF

16   No. 81-3.) While this new argument should be disregarded as untimely, even if it were considered,

17   it equally fails to show that Plaintiffs are likely to succeed on their misappropriation claim. Rodgers

18   v. Chevys Rest., LLC, No. C13-03923 HRL, 2015 U.S. Dist. LEXIS 22164, at *13 (N.D. Cal. Feb.

19   24, 2015) (holding that it is improper to raise new issues and submit new facts in a reply brief).
            B.      Plaintiffs have not shown that they possess the newly alleged Trident trade
20                  secret, nor have they shown misappropriation by Defendants.
21          A plaintiff has the burden of showing, among other things, that it “possessed a trade secret,

22   that the defendant misappropriated the trade secret, and that the defendant’s conduct damaged the

23   plaintiff.” Citcon USA, LLC v. RiverPay Inc., No. 18-cv-02585-NC, 2019 U.S. Dist. LEXIS 106295,

24   at *3 (N.D. Cal. June 25, 2019); Prostar Wireless Grp., LLC v. Domino’s Pizza, Inc., 360 F. Supp.

25   3d 994, 1013 (N.D. Cal. 2018) (“The burden is on the plaintiff to establish that the information it

26   asserts is indeed a trade secret.”). First, simply claiming a combination of publicly available

27   information in a single architecture does not constitute a trade secret. Calendar Research LLC v.

28   StubHub, Inc., No. 2:17-cv-04062-SVW-SS, 2018 U.S. Dist. LEXIS 221053, at *30 (C.D. Cal. Aug.
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 1   7, 2018) (first citing U.S. v. Liew, 856 F.3d 585, 594 (9th Cir. 2016), then citing VIA Techs., Inc. v.

 2   Asus Computer Int’l, 2016 U.S. Dist. LEXIS 141581, 2016 WL 5930280 at *3 (N.D. Cal. Oct. 12,

 3   2016)) (“In order for a compilation of public information to constitute a trade secret, it must be

 4   compiled in a novel way . . . [and the] plaintiff’s vague statements that a combination of features

 5   represents a trade secret do not constitute such a showing.”). Rather, Plaintiffs bear the burden of

 6   explaining how a specific combination of such public information is confidential to them and, thus,

 7   could potentially qualify as a trade secret. Id. Plaintiffs have not done so, and, tellingly, their own

 8   expert fails to provide any opinion in support of their new unified architecture argument. Further,

 9   Plaintiffs themselves fail to present any evidence that they possess or use this newly alleged

10   combination in a unified architecture. For example, in the PI Motion and Reply, Plaintiffs fail to

11   present any evidence that their Trident product incorporates heuristic rules or statistical models and

12   scoring. (See Pls.’ Mot. 16-19.) There is also no showing that Plaintiffs use those design techniques

13   in a unified architecture with the other publicly available capabilities and techniques that Plaintiffs

14   now claim to be necessary components of Plaintiffs’ newly alleged trade secret. (Id.; Pls.’ Reply 3.)

15          This highlights the fallacy in Plaintiffs’ new theory because, for example, statistical modeling

16   can mean a number of different things. (Karp Supp. Decl. ¶ 5, attached hereto as Exhibit A.) But

17   Plaintiffs do not give any explanation of how they are using statistical modeling, much less how that

18   use in combination with multiple other known design techniques and capabilities is unique and

19   confidential to Plaintiffs. See (Id.;) Calendar Research, 2018 U.S. Dist. LEXIS 221053 at *30.

20          In fact, Plaintiffs ignore numerous examples of publicly available disclosures of the

21   incorporation of these techniques and capabilities in various combinations. For example, Symantec,

22   a significant competitor in the e-mail security industry, has publicly disclosed its use of these high-

23   level techniques and approaches in a unified architecture by 2016. (Rankin Supp. Decl. ¶ 8, attached

24   hereto as Exhibit B; Karp Supp. Decl. ¶ 9.) And while Plaintiffs have not offered any explanation

25   of what they mean by certain capabilities and techniques, Proofpoint has also disclosed publicly the

26   use of the same techniques in its Essentials product by at least 2016, if not earlier. (Rankin Supp.

27   Decl. ¶ 5; Karp Supp. Decl. ¶ 9.) Moreover, Dr. Karp further opined that certain other public

28   disclosures demonstrate that Microsoft, Cloudmark, Barracuda, ThreatTrack, Mimecast, and Trend
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 1   Micro incorporated various combinations of these high-level techniques and approaches, indicating

 2   that the nature of interaction between these elements is widely known. (Rankin Supp. Decl. ¶¶ 6-7,

 3   9-12; Karp Supp. Decl. ¶¶ 5, 7-8, 10-14.) According to Dr. Karp, Plaintiffs’ newly alleged trade

 4   secret amounts to nothing more than “known techniques and approaches combined in an expected

 5   manner.” (Karp Supp. Decl. ¶ 14.) Thus, Plaintiffs’ new allegation fails for the same reasons as

 6   their now-abandoned first attempt. See Calendar Research, 2018 U.S. Dist. LEXIS 221053 at *30.

 7          Plaintiffs’ new theory also fails because they provide no evidence that Defendants have

 8   improperly used or disclosed these newly defined alleged trade secrets. See Integral Sys., Inc. v.

 9   Peoplesoft, Inc., No. C-90-2598-DLJ, 1991 U.S. Dist. LEXIS 20878, at *40-41 (N.D. Cal. July 19,

10   1991) (“[F]ailure to link the alleged trade secret to its specific manifestation in [defendant’s] product

11   is alone a sufficient basis for denying the [PI] motion.”).            Thus, there is no evidence of

12   misappropriation. Indeed, Plaintiffs have failed at each turn to show a likelihood of success on the

13   merits on their misappropriation or breach of contract claim, and therefore their PI Motion should be

14   denied. See Citcon USA, 2019 U.S. Dist. LEXIS 106295 at *8.

15          C.      The reply abandons Plaintiffs’ original theory regarding the MTA product.

16          Plaintiffs’ PI Motion began with the allegation—made without any credible factual basis—

17   that Vade did not have an MTA product of its own as of February 2017. (Pls.’ Mot. 12.) Plaintiffs

18   then alleged that, within a span of four months, Vade developed an MTA and put it into a competitive

19   trial against Cloudmark in June 2017, and that this evidenced Defendants’ misappropriation of

20   Cloudmark’s alleged MTA trade secrets. (Id. at 12, 15-16.) In response, Defendants demonstrated

21   by uncontroverted evidence that the MTA used by Vade in the June 2017 competitive trial had been

22   developed years prior, without input from Lemarié or other former Cloudmark employees. (Defs.’

23   Resp. 6; Gendre Decl. ¶¶ 19-22, ECF No. 72-5.) Defendants also established that the design goals

24   Plaintiffs claimed as trade secrets were widely known and disclosed in other MTA products on the

25   market. (Defs.’ Resp. 2, 11; Rankin Decl. ¶ 4, ECF No. 71-8; Karp Decl. ¶¶ 32-41, ECF No. 71-6.)

26          Plaintiffs’ reply does not meaningfully dispute that the alleged trade secrets claimed in the PI

27   Motion are, in fact, not trade secrets at all, and Plaintiffs do not dispute that their story concerning

28   the June 2017 competitive trial was wholly inaccurate. Instead, Plaintiffs’ reply now relies on a
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 1   newly crafted argument that should be disregarded as untimely and, even if considered, fails to

 2   support any request for injunctive relief. Rodgers, 2015 U.S. Dist. LEXIS 22164 at *13.

 3          D.      Plaintiffs’ new argument concerning the MTA is no better than their first.

 4          In their response, in addition to establishing Plaintiffs’ failure to identify an MTA-related

 5   trade secret, Defendants also noted that their NextGen MTA was different from Plaintiffs because it

 6   utilized the following design goals or techniques: a distinct architecture and distinct language

 7   (Golang) as compared with other commercial MTAs; a modular approach for native cloud

 8   deployment; micro services and standard REST APIs for every component; simple policy abstraction

 9   for flexibility; policy real-time testing and deployment; loosely coupled components; and a fully

10   elastic system. (Defs.’ Resp. 15-16.) Plaintiffs made no mention of these design capabilities or

11   techniques in their PI Motion. Yet now, in a classic example of improperly attempting to piggyback

12   off of and define their trade secret by reference to another party’s product,1 Plaintiffs contend that

13   they allegedly used similar high-level design goals or capabilities first, and that this somehow

14   supports issuance of an injunction.       But Plaintiffs’ arguments, however, reflect a continued

15   misunderstanding of the law and are inconsistent with the factual record.

16          Foremost, the use or mere recitation of these well-known design techniques, attributes, or

17   capabilities in connection with an MTA does not constitute a trade secret.               Swarmify, Inc. v.

18   Cloudfare, Inc., No. C 17-06957-WHA, 2018 U.S. LEXIS 34727, at *9-10 (N.D. Cal. March 2,

19   2018); Calendar Research, 2018 U.S. Dist. LEXIS 221053 at *30. Defendants never sought to seal

20   the use of those techniques, and, in fact, both experts agree that, at this level of generality, these are

21   commonly known and are not proprietary to either Plaintiffs or Defendants. (See, e.g., Nielson Supp.

22   Decl. ¶¶ 4-5, 10-17, 32-33, 36-40, ECF No. 81-5; Karp Supp. Decl. ¶¶ 16-31.) Accordingly, these

23   are not trade secrets, and they cannot support either a misappropriation or breach of contract claim.

24   Citcon USA, 2019 U.S. Dist. LEXIS 106295 at *4.

25          Indeed, it is clear that, if a trade secret exists, it lies in the implementation of the design

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            1
             Neothermia Corp. v. Rubicor Med., Inc., 345 F. Supp. 2d 1042, 1043-44 (N.D. Cal. 2004)
27   (holding that the plaintiff’s breach of NDA claim triggered California Code of Civil Procedure
     § 2019(d) and recognizing that § 2019(d) “prevents [a] plaintiff from using the discovery process as
28   a means to obtain the defendant’s trade secrets”).
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 1   technique or capability. See, e.g., Prostar, 360 F. Supp. 3d at 1013. But Plaintiffs tellingly fail to

 2   demonstrate how they implement the referenced design techniques or capabilities. To the contrary,

 3   their evidence explicitly refers to these capabilities and techniques as                     (ECF No. 81-

 4   7.) Without demonstrating how they implement these capabilities and techniques, there can be no

 5   proper identification of a trade secret and no evidence of misappropriation. (See Karp Supp. Decl.

 6   ¶¶ 17-29;) Swarmify, 2018 U.S. LEXIS 34727 at *9-10; Calendar Research, 2018 U.S. Dist. LEXIS

 7   221053 at *30. The importance of demonstrating a specific implementation is exemplified in

 8   Plaintiffs’ reference to the policy abstraction design goal and the use of the Golang source code

 9   language, as discussed below.

10          For example, the notion of implementing policy abstractions has been well known and used

11   for years in the context of e-mail filtering. It is undisputed that, by itself, a policy abstraction does

12   not constitute a trade secret. (See Karp Supp. Decl. ¶ 24;) Calendar Research, 2018 U.S. Dist. LEXIS

13   221053 at *30. One well-known tool for implementing policy abstractions is the Microsoft Outlook

14   graphical user interface (“GUI”) for setting up “rules,” e.g., a rule that every time an e-mail from a

15   particular sender is received, it is automatically forwarded to a designated folder. (Lemarié Supp.

16   Decl. ¶¶ 9-10, attached hereto as Exhibit C.) While Plaintiffs fail to demonstrate their alleged use of

17   policy abstraction in an MTA product, their expert, Dr. Nielson, cites documents that appear to

18   disclose                                                            alleged MTA. (Nielson Supp. Decl.

19   ¶ 22; Pls.’ Reply Ex. 5, ECF No. 81-9.) But in contrast, the Vade NextGen MTA does not use a

20   graphical user interface. Instead, Vade’s NextGen MTA is designed for customers to implement

21   policy abstractions in a manner that is different from any methodology disclosed in the documents

22   cited by Plaintiffs. (Defs.’ Resp. 15-16; Gendre Decl. ¶ 18, ECF No. 72-5; Lemarié Supp. Decl. ¶¶

23   11-13.) Accordingly, Plaintiffs have failed to show that their policy abstraction is in any way a trade

24   secret, and there is no evidence that Defendants are implementing a policy abstraction in the same

25   way. This cannot support an award of injunctive relief.

26          Plaintiffs’ reference to the Golang source code language—a popular programming

27   language—also belies any notion of misappropriation. (Karp Supp. Decl. ¶ 30.) Again, Plaintiffs

28   do not provide any detail or explanation of how they are allegedly using Golang in an MTA. In fact,
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 1   the one document Plaintiffs cite regarding their use of Golang is a document discussing

 2                            , not an MTA. (Pls.' Reply Ex. 2 at 3, ECF No. 81-6; see also Karp Supp.

 3   Decl. ¶ 29 (opining that the “         ” Dr. Nielson describes in relation to            is not an MTA.)

 4   Further, that document shows that                                                                      and

 5   there is no indication that Plaintiffs used Golang to develop any other products, much less their MTA.

 6   (ECF No. 81-6) Indeed, Vade is utilizing functionalities of Golang—functionalities that are required

 7   for Vade’s NextGen MTA’s design and architecture—that did not even exist when Lemarié was a

 8   Cloudmark employee, and Vade’s NextGen MTA is an altogether different product than Trident.

 9   (Lemarié Supp. Decl. ¶¶ 6-8, 11-13; Karp Supp. Decl. ¶ 29.) Thus, again, Plaintiffs have presented

10   no evidence that their purported use of the Golang source code language would be a trade secret, and

11   similarly, there is no evidence that Defendants’ use of Golang in a different product could in any

12   way constitute misappropriation or support a claim for injunctive relief. Integral Sys., 1991 U.S.

13   Dist. LEXIS 20878 at *40; (see Karp Supp. Decl. ¶¶ 29-30; Lemarié Supp. Decl. ¶¶ 6-8, 11-13.)
            E.     Plaintiffs ignore uncontroverted, sworn testimony of fact witnesses regarding
14                 their departures from Cloudmark.
15          In a misleading attempt to attack their credibility, Plaintiffs cite new documents on reply

16   relating to Mr. Delannoy and Mr. Boussinet—documents Plaintiffs possessed before filing their

17   motion. (Pls.’ Reply 11-12.) But Plaintiffs ignore sworn testimony from these witnesses that they,

18   of their own volition, had actively explored opportunities to leave Cloudmark for years before their

19   eventual departures. (Delannoy Decl. ¶ 6, ECF No. 71-14; Boussinet Decl. ¶¶ 9-11, ECF No. 71-

20   12.) And as Plaintiffs concede, none was subject to any non-compete obligation at the time of his

21   departure, and each was free to explore other opportunities, even with a competitor. (Pls.’ Reply

22   12.) Indeed, such employment changes are common in the software industry and cannot support a

23   claim for injunctive relief. Integral Sys., 1991 U.S. Dist. LEXIS 20878 at *40 (denying an injunction

24   and recognizing “the reality . . . that members of the software development industry frequently

25   change employers or begin companies on their own, expanding the information base for a particular

26   software.”).

27          F.      Plaintiffs’ new reply arguments are inconsistent with Cloudmark’s exit process.

28          Plaintiffs on reply now allege that Lemarié breached a “failure to return” obligation by
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 1   allegedly “destroying” Cloudmark documents. (Pls.’ Reply 9.) But Plaintiffs do not dispute that

 2

 3                           . (ECF No. 72-6 ¶ 10.) Thus, the uncontroverted record on this issue is that

 4   Lemarié simply deleted items from his personal computer and personal account that were copies of

 5   documents and information already in Cloudmark’s possession, which was entirely consistent with

 6   Cloudmark’s procedures and instructions to exiting employees. (Lemarié Supp. Decl. ¶¶ 14-17.)

 7   Lemarié simply deleted duplicative information, and Plaintiffs fail to provide any evidence of how

 8   such deletion harmed them in any way, much less caused irreparable harm. See Maine Pointe, LLC

 9   v. Collins, 2018 U.S. Dist. LEXIS 183277, *7-11 (D. Mass. 2018); (Lemarié Supp. Decl. ¶¶ 14-17).

10            G.     Plaintiffs’ reply confirms that they cannot show irreparable harm.

11            Plaintiffs admit in the PI Motion that they had full knowledge in June 2017 of the Vade MTA

12   on which the motion was based and its alleged “exceptionally fast development” after Lemarié’s

13   arrival that surely indicated trade secret misappropriation. (Pls.’ Mot. 12.) Plaintiffs did nothing in

14   response for over two years. Plaintiffs admit that they had full knowledge in June 2018 that Vade

15   had released the Vade O365 product that included the anti-spear phishing solution with the claimed

16   features now at issue. (Pls.’ Mot. 10-11.) Plaintiffs again did nothing in response for over a year.

17   Even now in their reply, Plaintiffs only allege in conclusory fashion that, absent an injunction, they

18   might incur some undefined, speculative injury in the future. (Pls.’ Reply 14 (“[Plaintiffs] will suffer

19   risk of competitive harm and potential contraction of market share [and] potential loss of established

20   and prospective customers, and goodwill.”) (emphasis added).) Yet

21                                     (Pls.’ Mot. 19; id. Ex. 1 ¶¶ 34-35, ECF No. 30-6.) Plaintiffs have

22   presented no argument or authority that would support a finding of irreparable harm on such a record.

23   II.      CONCLUSION AND PRAYER
24            For the foregoing reasons, Defendants respectfully request that the Court enter an order

25   denying Plaintiffs’ PI Motion in its entirety, and grant all other relief to which Defendants are

26   entitled.

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                                                                               Case No. 3:19-cv-04238-MMC
                                                               DEFENDANTS’ SUR-REPLY IN OPPOSITION TO
                               PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION AND EXPEDITED DISCOVERY
